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                                 UNITED STATES DISTRICT COURT

_ _ _ _ _ _E_A_S_T_E_R_N_ _ _ _ _ _ DISTRICT OF _ _ _ _ _ _A_R_K_A_N_S_A_S_ _ _ _ __

         UNITED STATES OF AMERICA
                                                        JUDGMENT OF ACQUITTAL
                          v.
                 JESUS QUINONEZ
                                                        CASE NUMBER: 4:12cr00169-03 JMM




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




Signature of Judge

James M. Moody - District Judge
Name of Judge                         Title of Judge

7/10/2013
                               Date
